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                                 163576




                          EXHIBIT D
Case 3:16-md-02738-MAS-RLS Document 27045-4 Filed 08/28/23 Page 2 of 4 PageID:
                                 163577




                       UNITED STATES DISTRICT COURT FOR THE
                          FOR THE DISTRICT OF NEW JERSEY


  IN RE: JOHNSON & JOHNSON                       MDL No. 3 : I 6-md-273 8-MAS-LHG
  TALCUM POWDER PRODUCTS
  MARKETING, SALES PRACTICES,
  AND PRODUCTS LIABILITY                         ruDGE MICHAEL A. SHIPP
  LITIGATION                                     MAG. JUDGE LOIS H. GOODMAN



  THIS DOCUMENT RELATES TO:                      Civil Case No. 3 :20-cv-03797-MAS-LHG

  DIAI\A LYNIN LIPTON v. JOHNSON &
  JOHNSON, etal.



      DECLARATION    I,INDA MOXON AS C           R.IN.INTEREST
      PURSUANT TO CALIFORNIA CODE OT'CIVII, PROCEDURE   SECTION
                                            371.32

   I, Linda Moxon, declare as follows:

      1. The decedent in this matter is Diana Lynn Lipton. She was my sister.

      2. Diana Lynn Lipton died of ovarian cancer on December 8,2022, in Santa Rosa,
         California.

      3. A true and correct copy of the death certificate, with social security number
         redacted, is attached as Exhibit A to the instant Motion to Substitute

         Parfy-Plaintiff.

      4. "No proceeding is now pending in California for administration of the decedent's
          estate."
Case 3:16-md-02738-MAS-RLS Document 27045-4 Filed 08/28/23 Page 3 of 4 PageID:
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     5. I am one of the decedent's successors-in-interest (as defined by section377.ll of
        the California Code of Civil Procedure) and a co-successor, along with my

        siblings Evelyn Willner, Heidi Moxon Morishita, and Bennett Moxon, to the

        decedent's interest in this action.

     6. No other person has a superior right to commence the action or proceeding or to
        be substituted for the decedent in the pending action or proceeding.



        I declare under penalty of perjury under the laws of the State of California that the

        foregoing is true and correct and that this declaraiion was executed in
          Pacific Palisades
                                              , California on the date specified below.




  Dated: August 24 ,2023
                                                     Linda
                                                   Lin{ja i9oxon iAug 24. ,Or1 I l:51; PDT)

                                                   Linda Moxon
  Case 3:16-md-02738-MAS-RLS Document 27045-4 Filed 08/28/23 Page 4 of 4 PageID:
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 CCP 377 .32 Declaration of Linda Moxon
 FinalAudit Report                                                          2023-08-24


     Created:                2023-0V24

     By:                     Walter Walker (jess@whkJaw.com)

     Status:                 Signed

     Transaction lD:         CBJCHBCAABAAX0LPjTyfJ-KDH-ZM-uhHWSljkFYy'xTx




 "CCP 377.32 Declaration of Linda Moxon" History
 *     Document created by Walter Walker (ess@whk-law.com)
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 dar Signer voxmox@gmail.com entered name at signing as Linda Moxon
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 €rs Document e-signed by Linda Moxon (voxmox@gmail.com)
       Signature Date:2023-08-24 - 8:55:11 PM GMT - Time Source: server


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